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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                         MDL 2804
OPIATE LITIGATION
                                                     Case No. 17-md-2804
This document relates to:
                                                     Hon. Dan Aaron Polster
ALL CASES



           REVISED NOTICE OF PUBLIC DISCLOSURE OF ARCOS DATA

       On July 15, 2019, the Court entered an Order (Dkt. 1845) regarding public access to the

ARCOS data covering opioid shipments from 2006 to 2012. On January 14, 2020, the Court

entered an Order (Dkt. 3080) regarding public access to the ARCOS data covering opioid

shipments from 2013 to 2014. Then, on July 14, 2023, the Court entered an Order (Dkt. 5115)

regarding public access to the ARCOS data covering opioid shipments from 2015-2019.

       Please take notice the PEC has posted updated links to both the raw data provided by the

DEA for the years 2006-2019 at www.slcg.com/opioid-data/. The two links allow anyone to

download the raw and processed data.

       The PEC has found, however, that the data was not useful as received, so we spent

extensive resources making it useful. We are also providing you, again without charge, access to

the result of that investment. The PEC’s ARCOS website allows you to go straight to the county-

level processed ARCOS data and county-level reports and download the information you need in

order to understand from the ARCOS database exactly which opioid products flowed into your

clients’ jurisdictions and how they got there. While you have the right to download the

unprocessed ARCOS data and process it yourself, we urge you to avoid that step and instead
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simply access the PEC’s processed ARCOS data and reports.

       These files are very large; download time will depend on the user’s computing resources

and the number of users attempting to download the files. For any questions or support

concerning this ARCOS data contact ARCOS@levinlaw.com.


                                                  Respectfully Submitted,


                                                  s/Peter J. Mougey_______
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                               CERTIFICATE OF SERVICE


   I hereby certify that on September 12, 2023 I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record by,
and may be obtained through, the Court CM/ECF system.


                                                  s/Peter J. Mougey_______
                                                  Peter J. Mougey
                                                  For the PEC
